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Case 2:09-cv-00446-TSZ Document 14 Filed 11/09/09 Page 1 of 3

THE HONORABLE THOMAS §&. ZILLY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

IN THE MATTER OF THE COMPLAINT OF
KATMAI FISHERIES, INC. AS OWNER

AND/OR OPERATOR OF THE VESSEL Case No. 09-0446TSZ

KATMAT, OFFICIAL NUMBER 918779, FOR

EXONERATION FROM AND/OR STIPULATION AND ORDER TO

LIMITATION OF LIABILITY DISMISS CLAIM FOR DAMAGES
BY CLAIMANT ARMOND
HARPER

 

 

 

COME NOW Limitation Plaintiff and Claimant Armond Harper, personal
representative of the Estate of Glen Harper, Jr., and agree and stipulate that all claims for
damages made by Claimant Armond Harper may be dismissed with prejudice with each

party to bear its own costs My attorneys’ fees.

DATED this i dayof_ love mex , 2009.

HOLMES WEDDLE & BARCOTT, P.C.

Hf lwurtuo

Michael H. Williamson, WSBA #4185
Michael A. Barcott, WSBA #11317
Theresa K. Fus, WSBA #37984

999 Third Avenue, Suite 2600

Seattle, Washington 98104

Telephone: (206) 292-8008

Facsimile: (206) 340-0289

Email: mwilliamson@hwb-law.com
Attomey for Limitation Plaintiff

STIPULATION AND ORDER TO DISMISS:
CLAIMANT ARMOND HARPER - | HOLMES WEDDLE & BARCOTT

Case No. 09-0446TSZ 999 THIRD AVENUE, SUITE 2600

SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008

 
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Case 2:09-cv-00446-TSZ Document 14 Filed 11/09/09 Page 2 of 3

RESPECTFULLY SUBMITTED this 7 _ day of Mie. 2009.

IT IS SO ORDERED.

DATED this

BEARD-STACEY TREUB & JACOBSEN,

   
 

   

 

<KLLL

 M. Beard, WSB AA
21* Ave. W., Suite
Seattle, WA 98199
Tel: (206) 282-3100
Fax: (206) 282-1149
E-mail: jboeard@maritimelawyer.us
Attorney for Claimant, Armond Harper

  

day of , 2009.

 

The Honorable Thomas S. Zilly
United States District Judge

STIPULATION AND ORDER TO DISMISS:

CLAIMANT ARMOND HARPER - 2

Case No. 09-0446TSZ

HOLMES WEDDLE & BARCOTT
999 THIRD AVENUE, SUITE 2600
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Case 2:09-cv-00446-TSZ Document 14 Filed 11/09/09 Page 3 of 3

CERTIFICATE OF SERVICE

The undersigned certifies under penalty of perjury
of the laws of the State of Washington that, on the
day of f Or er bes . , 2009,
the foregoing was electronically filed with the Clerk
of Court using the CM/ECF system, which will send
notification of such filing to the following:

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George Knowles
Injury at Sea

4705 — 16" Ave NE
Seattle, WA 98105

James Beard

Beard Stacey Trueb & Jacobsen, LLP
4039 21st Avenue West, Suite 401
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Poulson & Woolford, LLC
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Juneau, AK 99801

Corrie J. Yackulic

Schroeter Goldmark & Bender
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810 Third Avenue

Seattle, WA 98104 |

Tanya Garbel

 

   

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STIPULATION AND ORDER TO DISMISS:

CLAIMANT ARMOND HARPER - 3
Case No. 09-0446TSZ

  

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